                                           Case 2:13-cv-00193 Document 775-34 Filed on 11/19/14 in TXSD Page 1 of 1

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                                                                                                    Oldham                     °otler                Career        I      Gray            Wheeler                                                 Election                                             Identification                                                                              Certificates

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               County processing EICs 27 Counties 3 MOUs Received
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               DL Employees scheduled to                                 coverage       38 Counties
                                                        provide                                                                                                                                                                                                                                                                                                                                                       09/02/2014
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               County employees           to   be trained    to     process EICs               13 Counties
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               Kimble County         Junction     Scheduled            Office         Open for business




Current   as of 141627   October   2013


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